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                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF WEST VIRGINIA

 UNITED STATES OF AMERICA,

 v.                                            Criminal Action No. 1:14-cr-98-2

 TIMOTHY CAVENDER,
       Defendant.

                    OPINION/ REPORT AND RECOMMENDATION
                   CONCERNING PLEA OF GUILTY IN FELONY CASE

        This matter has been referred to the undersigned Magistrate Judge by the District Court for

 purposes of conducting proceedings pursuant to Federal Rule of Criminal Procedure 11. Defendant,

 Timothy Cavender, in person and by counsel, Craig Erhard, appeared before me on May 18, 2015.

 The Government appeared by Assistant United States Attorney Shawn Morgan. The Court

 determined that Defendant was prepared to enter a plea of “Guilty” to Count Four of the Second

 Superseding Indictment.

        The Court proceeded with the Rule 11 proceeding by first placing Defendant under oath.

        The Court inquired of Defendant whether he was a citizen of the United States. Defendant

 responded that he is a citizen. The undersigned asked Defendant whether he understood that if he

 was not a citizen of the United States, by pleading guilty to a felony charge he would be subject to

 deportation at the conclusion of any sentence; that he would be denied future entry into the United

 States; and that he would be denied citizenship if he ever applied for it. Defendant stated that he

 understood.

        The Court determined that Defendant’s plea was pursuant to a written plea agreement, and

 asked the Government to tender the original to the Court. The Court asked counsel for the

 Government if the agreement was the sole agreement offered to Defendant. The Government

 responded that a prior agreement had been offered to Defendant when he was represented by
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 previous counsel, Thomas Dyer. That agreement contained an earlier date for timely acceptance and

 an agreement that at sentencing, the Government would recommend a sentence at the lower end of

 the Sentencing Guidelines range. The agreement also contained a provision for forfeiture of

 currency seized from Defendant. Defendant did not return the prior agreement, which led to the

 Government’s seeking and the Grand Jury’s return of the Second Superseding Indictment. The

 instant agreement provides a later date for timely acceptance, does not provide for forfeiture, and

 provides that the Government will recommend that any sentence be in the middle of the Sentencing

 Guidelines range. Counsel for Defendant confirmed these statements, and confirmed that Defendant

 understood that the instant agreement was less favorable to him than the prior agreement. The Court

 asked counsel for the Government to summarize the written plea agreement. Defendant stated that

 the agreement as summarized by counsel for the Government was correct and complied with his

 understanding of the agreement. The Court ORDERED the written plea agreement filed and found

 the requirements of Missouri v. Frye, 132 S. Ct. 1399 (2012), to be satisfied.

        The Court next inquired of Defendant concerning his understanding of his right to have an

 Article III Judge hear the entry of his guilty plea and his understanding of the difference between an

 Article III Judge and a Magistrate Judge. Defendant thereafter stated in open court that he

 voluntarily waived his right to have an Article III Judge hear his plea and voluntarily consented to

 the undersigned Magistrate Judge hearing his plea, and tendered to the Court a written Waiver of

 Article III Judge and Consent To Enter Guilty Plea Before Magistrate Judge, which waiver and

 consent was signed by Defendant and countersigned by Defendant’s counsel and was concurred in

 by the signature of the Assistant United States Attorney appearing.




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        Upon consideration of the sworn testimony of Defendant, as well as the representations of

 his counsel and the representations of the Government, the Court finds that the oral and written

 waiver of Article III Judge and consent to enter guilty plea before a Magistrate Judge was freely and

 voluntarily given and the written waiver and consent was freely and voluntarily executed by

 Defendant, Timothy Cavender, only after having had his rights fully explained to him and having

 a full understanding of those rights through consultation with his counsel, as well as through

 questioning by the Court. The Court ORDERED the written Waiver and Consent to Enter Guilty

 Plea before a Magistrate Judge filed and made part of the record.

        The undersigned then reviewed with Defendant Count Four of the Second Superseding

 Indictment and the elements the Government would have to prove, charging him with possession

 with intent to distribute heroin, in violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(C). The

 undersigned then reviewed with Defendant the statutory penalties applicable to an individual

 adjudicated guilty of the felony charge contained in Count Four of the Second Superseding

 Indictment, the impact of the sentencing guidelines on sentencing in general, and inquired of

 Defendant as to his competency to proceed with the plea hearing. From said review the undersigned

 Magistrate Judge determined Defendant understood the nature of the charges pending against him

 and understood the possible statutory maximum sentence which could be imposed upon his

 conviction or adjudication of guilty on Count Four was imprisonment for a term of not more than

 twenty (20) years; understood that a fine of not more than $1,000,000.00 could be imposed;

 understood that both fine and imprisonment could be imposed; understood he would be subject to

 a period of at least three (3) years of supervised release; and understood the Court would impose a

 special mandatory assessment of $100.00 for the felony conviction payable on or before the date of


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 sentencing. Defendant also understood that his sentence could be increased if he had a prior firearm

 offense, violent felony conviction, or prior drug conviction. He also understood he might be required

 by the Court to pay the costs of his incarceration and supervised release.

        The undersigned also reviewed with Defendant his waiver of appellate and collateral attack

 rights. Defendant understood that pursuant to his plea agreement, he was waiving his right to appeal

 his conviction and sentence to the Fourth Circuit Court of Appeals on any ground whatsoever,

 including those grounds set forth in 18 U.S.C. § 3742, as long as the sentence was within the

 maximum provided in the statute of conviction. Defendant further understood that under his plea

 agreement, he was waiving his right to challenge his conviction and sentence in any post-conviction

 proceeding, including any proceeding under 28 U.S.C. § 2255. Defendant understood, however, that

 he was reserving the right to raise claims of ineffective assistance of counsel or prosecutorial

 misconduct that he learned about after the plea hearing, and agreed that he was unaware of any

 ineffective assistance of counsel or prosecutorial misconduct in his case at this time. From the

 foregoing, the undersigned determined that Defendant understood his appellate rights and knowingly

 gave up those rights pursuant to the conditions contained in the written plea agreement.

        The undersigned Magistrate Judge further examined Defendant relative to his knowledgeable

 and voluntary execution of the written plea bargain agreement, and determined the entry into said

 written plea bargain agreement was both knowledgeable and voluntary on the part of Defendant. The

 undersigned then inquired of Defendant regarding his understanding of the written plea agreement.

 Defendant stated he understood the terms of the written plea agreement and also stated that it

 contained the whole of his agreement with the Government and no promises or representations were

 made to him by the Government other than those terms contained in the written plea agreement.


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        The undersigned Magistrate Judge further inquired of Defendant, his counsel, and the

 Government as to the non-binding recommendations and stipulation contained in the written plea

 bargain agreement and determined that Defendant understood, with respect to the plea bargain

 agreement and to Defendant’s entry of a plea of guilty to the felony charge contained in Count Four

 of the Second Superseding Indictment, the undersigned Magistrate Judge would write the subject

 Report and Recommendation and would further order a pre-sentence investigation report be prepared

 by the probation officer attending the District Court. The undersigned advised the Defendant that the

 District Judge would adjudicate the Defendant guilty of the felony charged under Count Four of the

 Second Superseding Indictment. Only after the District Court had an opportunity to review the pre-

 sentence investigation report, would the District Court make a determination as to whether to accept

 or reject any recommendation or stipulation contained within the plea agreement or pre-sentence

 report. The undersigned reiterated to the Defendant that the District Judge may not agree with the

 recommendations or stipulation contained in the written agreement. The undersigned Magistrate

 Judge further advised Defendant, in accord with Federal Rule of Criminal Procedure 11, that in the

 event the District Court Judge refused to follow the non-binding recommendations or stipulation

 contained in the written plea agreement and/or sentenced him to a sentence which was different from

 that which he expected, he would not be permitted to withdraw his guilty plea. Defendant and his

 counsel each acknowledged their understanding and Defendant maintained his desire to have his plea

 of guilty accepted.

        Defendant also understood that his actual sentence could not be calculated until after a pre-

 sentence report was prepared and a sentencing hearing conducted. The undersigned also advised,

 and Defendant stated that he understood, that the Sentencing Guidelines are no longer mandatory,



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 and that, even if the District Judge did not follow the Sentencing Guidelines or sentenced him to a

 higher sentence than he expected, he would not have a right to withdraw his guilty plea. Defendant

 further stated his attorney showed him how the advisory guideline chart worked but did not promise

 him any specific sentence at the time of sentencing. Defendant stated that he understood his attorney

 could not predict or promise him what actual sentence he would receive from the sentencing judge

 at the sentencing hearing. Defendant further understood there was no parole in the federal system,

 although he may be able to earn institutional good time, and that good time was not controlled by

 the Court, but by the Federal Bureau of Prisons.

        The Court heard the testimony of West Virginia State Police Officer John Wayne Smith.

 Prior to December 9, 2014, officers received information from a cooperating individual (“CI”) that

 Defendant had stored drugs in her residence in Clarksburg, West Virginia, within the Northern

 District of West Virginia. Upon investigation, officers learned that Defendant had stored 35 bricks,

 the equivalent of 1,750 stamps, of heroin in the attic of the residence. Officers placed surveillance

 equipment and replaced the heroin. On December 9, 2014, officers observed Defendant arrive at the

 residence, go up to the attic, remove the heroin, repackage it, and return it to the attic. Defendant

 was apprehended. The heroin field-tested positive to contain heroin.

        Thereupon, Defendant, Timothy Cavender, in the presence of his counsel, Craig Erhard,

 proceeded to enter a verbal plea of GUILTY to the felony charge in Count Four of the Second

 Superseding Indictment.

        Defendant stated he heard, understood, and did not disagree with Officer Smith’s testimony.

 The undersigned United States Magistrate Judge concludes the offense charged in Count Four of

 the Second Superseding Indictment are supported by an independent basis in fact concerning each




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 of the essential elements of such offense. That independent basis is provided by Officer Smith’s testimony.

         Upon consideration of all of the above, the undersigned Magistrate Judge finds that

 Defendant is fully competent and capable of entering an informed plea; Defendant is aware of and

 understood his right to have an Article III Judge hear and accept his plea and elected to voluntarily

 consent to the undersigned United States Magistrate Judge hearing his plea; Defendant understood

 the charges against him, not only as to the Second Superseding Indictment as a whole, but in

 particular as to Count Four of the Second Superseding Indictment; Defendant understood the

 consequences of his plea of guilty, in particular the maximum statutory penalty to which he would

 be exposed for Count Four; Defendant made a knowing and voluntary plea of guilty to Count Four

 of the Second Superseding Indictment; and Defendant’s plea is independently supported by Officer

 Smith’s testimony which provides, beyond a reasonable doubt, proof of each of the essential

 elements of the charges to which Defendant has pled guilty.

         The undersigned Magistrate Judge therefore recommends Defendant’s plea of guilty to Count

 Four of the Second Superseding Indictment herein be accepted conditioned upon the Court’s receipt

 and review of this Report and Recommendation.

         The undersigned further directs that a pre-sentence investigation report be prepared by the

 adult probation officer assigned to this case.

         Defendant is remanded to the custody of the United States Marshals Service pending further

 proceedings in this matter.

         Any party may, within fourteen (14) days after being served with a copy of this Report and

 Recommendation, file with the Clerk of the Court written objections identifying the portions of the

 Report and Recommendation to which objection is made, and the basis for such objection. A copy


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 of such objections should also be submitted to the Honorable Irene M. Keeley, United States District

 Judge. Failure to timely file objections to the Report and Recommendation set forth above will

 result in waiver of the right to appeal from a judgment of this Court based upon such report and

 recommendation. 28 U.S.C. § 636(b)(1); United States v. Schronce, 727 F.2d 91 (4th Cir. 1984),

 cert. denied, 467 U.S. 1208 (1984); Wright v. Collins, 766 F.2d 841 (4th Cir. 1985); Thomas v. Arn,

 474 U.S. 140 (1985).

        The Clerk of the Court is directed to send a copy of this Report and Recommendation to

 counsel of record.

        Respectfully submitted this 19th day of May, 2015.




                                                      /s/ John S. Kaull
                                                      JOHN S. KAULL
                                                      UNITED STATES MAGISTRATE JUDGE




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